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 7

 8                               UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       )    Case No.: 1:18-cr-00252-LJO-SKO
                                                     )
12                                                   )    STIPULATION TO MODIFY TERM OF
                            Plaintiff,               )    PRETRIAL RELEASE; ORDER
13                                                   )    (AMENDED)
     vs.                                             )
14                                                   )
     ROSEMARIE MARTINEZ,                             )
15                                                   )
                                                     )
16                          Defendant.               )
                                                     )
17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, that Ms. Martinez’s pretrial release conditions be modified to permit her to participate in
20   residential drug treatment at WestCare of Fresno, California.
21          On May 5, 2019, and May 16, 2019, Ms. Martinez provided urine samples which proved
22   to be positive for amphetamines. Previously, she had tested positive for the same drug on March
23   28, 2019 and was referred to outpatient drug abuse counseling.
24          Ms. Martinez, when confronted with the test evidence, admitted her drug usage and
25   expressed her desire to overcome her addiction. The outpatient efforts to treat her addiction have
26   proven unsuccessful. She has agreed to participate in the residential treatment program at
27   WestCare of Fresno, California. That program has been contacted and reports that a bed space is
28   available on May 23, 2019, at 8:00 a.m. Ms. Martinez has consented to the date and time to present




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 1   herself to WestCare to be transported there by her husband, David Martinez.
 2          Pretrial Services and defense counsel are in agreement that Ms. Martinez is in need of
 3   residential drug treatment to address her issues and that she would benefit from such treatment.
 4   The government joins this request for residential treatment for Ms. Martinez.
 5          It is respectfully recommended Ms. Martinez’s conditions of release be amended to add
 6   the following conditions of release:
 7          1. You must refrain from any use of alcohol or any use of a narcotic drug or other
 8              controlled substance without a prescription by a licensed medical practitioner; and you
 9              must notify Pretrial Services immediately of any prescribed medication(s). However,
10              medicinal marijuana prescribed and/or recommended may not be used.
11          2. You must participate in the substance abuse treatment program at WestCare inpatient
12              facility until released by the pretrial release officer.
13                  a. A responsible party, approved by Pretrial Services, must escort you to all
14                      required court hearings and escort you back to the inpatient facility upon
15                      completion of the hearing.
16          All other conditions of release are to remain in full force and effect.
17   Dated: May 31, 2019                    Respectfully submitted,
18
                                            McGREGOR W. SCOTT
19
                                            United States Attorney
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21                                          By /s/ Laurel Montoya
                                            LAUREL MONTOYA, AUSA
22

23
                                            By /s/ Dale A. Blickenstaff
24                                          DALE A BLICKENSTAFF, Attorney for Defendant,
                                            ROSEMARIE MARTINEZ
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 1

 2                                                ORDER

 3
            IT IS ORDERED that Rosemarie Martinez’s pretrial release conditions be amended to
 4
     include those conditions set forth above. All other conditions to remain in full force and effect.
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 6
            IT IS SO ORDERED.
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 8   Dated: May 31, 2019                                           /s/ Barbara A. McAuliffe
 9                                                         UNITED STATES MAGISTRATE JUDGE

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